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12
                                UNITED STATES DISTRICT COURT
13
           THE NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
14

15    KIMETRA BRICE, EARL BROWNE, and                CASE NO. 3:18-cv-1200-WHO
      JILL NOVOROT, on behalf of themselves
16    and all individuals similarly situated,
17                                                   NOTICE OF APPEAL TO THE UNITED
                            Plaintiffs,              STATES COURT OF APPEALS FOR THE
18
                                                     NINTH CIRCUIT
19    v.
                                                     Complaint filed: February 23, 2018
20

21    PLAIN GREEN, LLC, HAYNES
      INVESTMENTS, LLC, and L. STEPHEN
22    HAYNES,

23                          Defendants.
24

25
            NOTICE IS HEREBY GIVEN that, pursuant to 9 U.S.C. section 16(a)(1)(C) and Fed. R.
26
     App. P. 3, Defendants L. Stephen Haynes and Haynes Investments, LLC (collectively the
27
     “Haynes Defendants”) hereby appeal to the United States Court of Appeals for the Ninth Circuit
28

                                                      -1-                     3:18-cv-1200-WHO
                                          HAYNES’ NOTICE OF APPEAL
     Case 3:18-cv-01200-WHO Document 129 Filed 04/10/19 Page 2 of 2



 1   from the March 12, 2019 Order Denying Pending Motions (“Order”) (ECF No. 127), wherein the

 2   Court denied the Haynes Defendants’ Motion to Compel Arbitration (ECF No. 85).

 3          A true and correct copy of the Order is attached hereto as Exhibit A. Pursuant to Rule 3-2

 4   of the Ninth Circuit Federal Appellate Rules of Procedure, attached hereto as Exhibit B is the

 5   Haynes Defendants’ Representation Statement.

 6

 7   DATED: April 10, 2019                        By     /s/ Anna S. McLean
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                                                  Attorneys for Defendants L. Stephen Haynes and
18                                                Haynes

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                                        HAYNES’ NOTICE OF APPEAL
